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                                                               November 18, 2020
 Via ECF
 The Honorable Lorna G. Schofield,
     United States District Judge,
         Thurgood Marshall United States Courthouse,
             40 Foley Square,
                  New York, New York 10007.
                 Re:     Allianz Global Invs. GmbH, et al. v. Bank of Am. Corp., et al.,
                         Case No. 18-cv-10364

 Dear Judge Schofield:

         Under Rule III(C)(4) of Your Honor’s Individual Practices, we write on behalf of
 Defendants1 (“Defendants”) to submit this letter motion for a temporary restraining order
 or, in the alternative, to enforce the Amended Order of Confidentiality (Dkt. No. 387
 (“Confidentiality Order”)). Specifically, Defendants seek this Court’s intervention
 regarding Plaintiffs’ retention of Jason Katz, a former Barclays and BNP trader and a likely
 fact witness in this action (“U.S. Action”), as a paid “consulting” expert. In a parallel
 action in the U.K. (“U.K. Action”) brought by many of the same Plaintiffs and Plaintiffs’
 counsel as in this U.S. Action, Plaintiffs have applied to give Katz—in the guise of being
 a paid “consultant”—access to the confidential and highly confidential information that
 certain Defendants have produced in the U.S. and U.K. Actions. Paying money to, and
 sharing confidential information with, a fact witness raises serious administration of justice
 issues. Because Katz’s retention as a consulting expert is improper, sharing this
 information with him is improper under the Confidentiality Order. It is also inherently
 improper for Plaintiffs to “interfer[e] with the recollections of a key fact witness” by
 sharing with him confidential information of which he was not an author or recipient.
 Arconic Inc. v. Novelis Inc., 2018 WL 5660180, at *1-*2 (W.D. Pa. Aug. 3, 2018).
         Beginning on November 10, 2020, Defendants tried to get basic information from
 Plaintiffs about Katz’s retention. On November 16, 2020, Plaintiffs finally revealed that
 they have agreed to pay Katz, who is otherwise currently unemployed, $400 per hour for
 his purported consulting services. Rather than allowing the parties time to discuss these
 serious concerns, Plaintiffs are seeking to make the issue a fait accompli by rushing an
 application in the U.K. court to share confidential information with Katz. And Plaintiffs
 were unable to speak with Defendants until 4:30 p.m. on November 17, 2020. Accordingly,
 to avoid tainting a potentially crucial fact witness, on November 17, Defendants filed a
 letter motion with Judge Aaron seeking a protective order to stop Plaintiffs from (i) paying
 Katz the unreasonable amount of $400 per hour, and (ii) sharing any information that he
 would not have had access while employed as an FX trader.2 Judge Aaron denied the

 1
     The MUFG and Credit Suisse defendants do not join this motion.
 2
   Defendants do not seek to prevent Plaintiffs from otherwise communicating with Katz,
 assuming he does not divulge any privileged or otherwise protected information, including
 information he is required to keep confidential pursuant to the terms of his employment
 with BNP, and that such communications are discoverable.
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 motion without prejudice, because he viewed the motion “in substance [a]s seeking a
 temporary restraining order” that should be brought before this Court. (Dkt. No. 652.)
 Judge Aaron, however, stated that “the [c]ourt expects Plaintiffs to abide by the letter and
 spirit of the Amended Order of Confidentiality . . . as well as their ethical obligations.”
 (Id.)
 Legal Standard
        To obtain a temporary restraining order, “the movant has to show (a) irreparable
 harm and (b) either (1) likelihood of success on the merits or (2) sufficiently serious
 questions going to the merits to make them a fair ground for litigation and a balance of
 hardships tipping decidedly toward the party requesting the preliminary relief.” Araujo v.
 N.Y.C. Dep’t of Educ., 2020 WL 5701828, at *2 (S.D.N.Y. Sept. 24, 2020) (Schofield, J.)
 As shown below, Plaintiffs’ improper agreement to retain a key fact witness in the U.S.
 Action as a $400-an-hour purported “consultant” and to taint his knowledge of the
 underlying facts by showing and discussing with him Confidential and Highly Confidential
 information that he has never before seen easily meets this standard.
 Background
          Katz is a former FX trader for Barclays and BNP who participated in certain FX
 chat rooms that are at issue in this Action. On January 4, 2017, Katz pleaded guilty to a
 one-count indictment for violating the Sherman Act. (Plea Agreement at ¶ 1, U.S. v. Katz,
 No. 17-cr-0003, Dkt. No. 6 (S.D.N.Y. Jan. 4, 2017).) Katz testified as a fact witness for
 multiple days in U.S. v. Aiyer, No. 18-cr-333 (S.D.N.Y.)—a criminal case involving Katz
 that is detailed in the Third Amended Complaint. (See Dkt. No. 475, ¶¶ 293-96.)3 Plaintiffs
 and BNP listed Katz in their Initial Disclosures as a person that they “may use to support
 [their] claims or defenses.” Fed. R. Civ. P. 26(a)(1)(A)(i). Plaintiffs also demanded that
 Barclays and BNP include Katz as a document custodian. And, Katz is being scheduled
 for a fact-witness deposition in the main FX class action, In re FOREX Antitrust Litig., No.
 13-cv-7789 (S.D.N.Y.), where his testimony also may be used in this Action. Importantly,
 many of the current and former traders who have been deposed in FOREX have asserted
 their Fifth Amendment rights and refused to testify substantively. Due to his prior
 conviction and cooperation agreement with the Government, Katz likely cannot do the
 same and may be one of the main traders able to provide substantive testimony about the
 facts at issue in the U.S. and U.K. Actions.
         Defendants first learned of Plaintiffs’ purported retention of Katz by chance on
 November 6, 2020, when the claimants in the U.K. Action sought defendants’ consent to
 show Katz confidential materials. Barclays and others promptly objected and sought
 further information about the arrangement with Katz from Plaintiffs in the U.S. and the
 U.K. (See Affidavit of Matthew A. Schwartz, dated November 11, 2020 (“Schwartz Aff.”)
 Ex. A.) Plaintiffs have stated that they not only intend to share Confidential and Highly
 Confidential information with Katz in both the U.S Action and the U.K. Action, but also
 to compensate him as a “consultant” for assisting Plaintiffs in preparing their case at $400
 per hour. (Schwartz Aff. Ex. B at 2; Ex. E at 1.)


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  Aiyer has appealed his conviction and it is possible that his appeal could result in a retrial
 of his case.
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         Barclays asked Plaintiffs to refrain from sharing with Katz any Confidential or
 Highly Confidential information until Defendants in this Action could learn more about
 Katz’s purported retention. In response, U.K. Plaintiffs filed an application with the U.K.
 court to allow them to immediately divulge information to Katz. The U.K. defendants’
 opposition to that application was served on November 18, 2020. Plaintiffs have been
 unwilling to stay that application pending the outcome of any dispute in the U.S. Action.4
 If the U.K. application is granted, Plaintiffs will have the legal right in the U.K. to show
 Katz any documents that have been produced in the U.K. action, which substantially
 overlaps with the discovery produced to date in the U.S. Action. In other words, if
 Plaintiffs’ U.K. application is granted, their transatlantic maneuvering will have the effect
 of undermining any relief this Court could give by allowing them to do in the U.K. what
 they should not be allowed to do in the U.S. This is the urgency motivating Defendants’
 instant motion.
 Statement
          Plaintiffs Admit Hiring Katz for His Personal Knowledge of Relevant Facts.
          There can be no dispute that Katz is a fact witness and that Plaintiffs are retaining
 him because of his personal knowledge of relevant facts. Plaintiffs have admitted this: on
 November 12, Plaintiffs explained that their “purpose” for hiring Katz as a consultant was,
 in part, his “knowledge of facts relevant to the alleged conspiracy.” (Schwartz Aff. Ex. C
 at 2.) Earlier that day in the U.K., Plaintiffs’ counsel asserted that they had retained him
 as a “consultant” because of “[t]he very fact that Mr. Katz was an employee of Barclays
 and engaged in the unlawful conduct that is the subject of the [U.K.] claim.” (Schwartz
 Aff. Ex. B at 1.) Plaintiffs ignore that there are literally hundreds of other current and
 former FX traders, including among Plaintiffs’ own employees, who are not fact witnesses
 and could provide the same services. Indeed, Plaintiffs’ recent filings in the U.K. Action
 make clear that they have already retained at least two “industry consultants” and two other
 experts, all of whom appear to be former traders but are not key fact witnesses in the U.S.
 or U.K. Actions. (Schwartz Aff. at ¶ 7.) As a result, Plaintiffs cannot credibly claim any
 hardship from not being able to show Katz documents that he has never seen before.
          Plaintiffs’ Arrangement to Pay Katz $400 Per Hour Is Improper.
         It is well-settled that a lawyer can only “advance, guarantee or acquiesce in the
 payment of . . . reasonable compensation to a [fact] witness for the loss of time in attending,
 testifying, preparing to testify or otherwise assisting counsel, and reasonable related
 expenses,” Caldwell v. Cablevision Sys. Corp., 86 A.D.3d 46, 51 (N.Y. App. Div., 2d
 Dep’t. 2011) (emphasis added) (quoting N.Y. R. of Prof. Conduct 3.4(b)).5 “Payment to a
 fact witness which bears no relation to the witness’s reasonable losses . . . is nothing more

 4
   Plaintiffs have agreed to give Defendants three business days’ notice before showing Katz
 any Confidential or Highly Confidential materials; but once Katz is able to see those
 materials in the U.K. Action mere notice is insufficient to cure the harm of sharing
 information with Katz that may improperly taint his testimony.
 5
   Under the Federal Anti-Gratuity statute, 18 U.S.C. § 201(d), a lawyer can only pay a fact
 witness for “reasonable cost of travel and subsistence incurred and the reasonable value of
 time lost.” In re PMD Enters. Inc., 215 F. Supp. 2d 519, 530 (D.N.J. 2002).
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 than a fee for testifying that permits strangers to the litigation to profit from it.” Id. at 52
 (internal quotations and alterations omitted). Lawyers may not circumvent this rule by
 dressing the fact witness up as a “consultant.” See Patel v. 7-Eleven Inc., 2015 WL
 9701133, at *4-5 (C.D. Cal. Apr. 14, 2015) (holding compensation was improper because
 the witness was “actually hired . . . for his unique factual insight into the workings of
 Defendants’ [business], not for his ‘expertise’” in the relevant field); Rocheux Int’l of N.J.,
 Inc. v. U.S. Merchants Fin. Grp., Inc., 2009 WL 3246837 (D.N.J. Oct. 5, 2009) (excluding
 testimony from former employee plaintiff had retained as a purported “expert witness” but
 the witness’s proposed testimony related to factual issues); Goldstein v. Exxon Research
 Eng’g Co., 1997 WL 580599, at *4 (D.N.J. Feb. 28, 1997) (“consulting agreement” with
 fact witness improper “[w]hen a witness is called because of vast personal knowledge of
 the subject matter of a lawsuit” due to extensive personal involvement in disputed
 activities); Rentclub, Inc. v. Transamerica Rental Fin. Corp., 811 F. Supp. 651 (M.D. Fl.
 1992) (disqualifying counsel for retaining opposing party’s former CFO as a “trial
 consultant” where payments to the witness appeared to have been for factual information).
         After multiple requests, on November 16, Plaintiffs finally disclosed that they have
 agreed to pay Katz $400 per hour for his services. Plaintiffs’ compensation arrangement
 with Katz is excessive by any reasonable measure. At his October 5 sentencing, Katz
 explained that he was “a full-time stay-at-home dad” who spent the “last few years learning
 about growing and building a small real estate business” and was “taking classes to become
 an EMT.” (Oct. 5, 2020 Tr., U.S. v. Katz, at 7:10-20.)6 The Rules of Professional Conduct
 make clear that a fact witness’s reimbursement for their “loss of time” should be based on
 the monetary value of that witness’s time, and requires “closer consideration” if the witness
 is unemployed. (N.Y. Bar Ass’n, Op. 668 (1994).) Plaintiffs cannot credibly claim that
 Katz’s services are worth $400 per hour to anybody other than Plaintiffs. Indeed, this
 hourly rate far exceeds what courts in this circuit have permitted in similar circumstances.
 See, e.g., Prasad v. MML Inv’rs Servs., Inc., 2004 WL 1151735, at *7 (S.D.N.Y. May 24,
 2004) ($125 per hour and citing case that concluded rates between $125-200 per hour were
 reasonable); Klorczyk v. Sears, Roebuck & Co., 2017 WL 3272237, at *3 (D. Conn. Aug.
 1, 2017) ($120 per hour); Rajaratnam v. Motley Rice, LLC, 449 F. Supp. 3d 45, 78
 (E.D.N.Y. 2020) (less than $8,500 per year, including expenses for international travel).7


 6
  Nor can Plaintiffs argue that Katz’s experience as a trader justifies paying him so much,
 because he was banned for life from working as a trader by the Federal Reserve in 2017.
 See https://www.federalreserve.gov/newsevents/pressreleases/files/enf20170104a1.pdf.
 7
   Accordingly, this case is nothing like those where payments to fact witness have been
 permitted. See, e.g., Higher One, Inc. v. TouchNet Info. Sys., Inc., 298 F.R.D. 82, 86-87
 (W.D.N.Y. 2014) (rejecting discovery into attorneys’ communications with consulting witness,
 where witness was unlikely to testify and there was no evidence witness was being paid an
 improper amount or improperly divulging confidential information); Prasad, 2004 WL
 1151735, at *5-6 (compensating a fact witness for $125 per hour to be a consultant was
 insufficient to overturn an arbitration award where $125 per hour was the same rate the witness
 charged in his private consulting business); Rajaratnam, 2020 WL 1476171, at *20-21
 (compensating $75,000 to a fact witness for extensive case travel between Sri Lanka and the
 United States over several years was reasonable and proper).
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        Plaintiffs Should Not Be Allowed to Taint Katz’s Knowledge as a Fact Witness.
         Plaintiffs clearly intend to show Katz documents that have been designated
 Confidential and Highly Confidential for which he was not an author or recipient. Indeed,
 they have filed a motion to permit this in the U.K Action. Allowing Katz “to review all
 tiers of confidential information in the case” runs the risk of “interfering with the
 recollections of a key fact witness” and should not be allowed. Arconic Inc., 2018 WL
 5660180, at *1-*2 (“[I]t is essential to avoid the possibility of influencing the testimony of
 a witness whom both parties agree is a central fact witness in the case.”). Moreover, under
 the Confidentiality Order, a fact witness—but not a consulting “expert”—can only see
 “Highly Confidential” information the witness had access to “in the normal course of
 business.” (Compare Dkt. No. 388 ¶ 7.2(f) with ¶ 7.2(h).) Plaintiffs should not be allowed
 to sidestep this Order by improperly retaining Katz as a consultant.
         If Katz reviews documents that are unrelated to his conduct, it will necessarily
 change his personal understanding of the conduct at issue in the U.S. Action. Defendants
 may not be able to mitigate this issue with cross-examination, in part because Plaintiffs
 have stated that they will invoke “[their] work product privilege over communications with
 Katz concerning the subject of the consulting.” (Schwartz Aff. Ex. D at 2.) Cf. In re PMD
 Enters. Inc., 215 F. Supp. 2d at 531 (holding cross-examination was insufficient where the
 party “engaged in ex parte contact and offered to pay an adverse fact witness a substantial
 sum to review certain documents”). Defendants object to and reserve all rights to challenge
 any such claim.
 Conclusion
         For the foregoing reasons, Defendants respectfully request that the Court order
 Plaintiffs not to share any confidential information with Katz that he would not have had
 access to while employed as an FX trader and not to pay him excessive compensation.
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     United States District Judge

 Respectfully Submitted,



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 8
  Allen & Overy LLP does not represent Defendants BNP Paribas Group, BNP Paribas
 USA, Inc., BNP Paribas S.A. and BNP Paribas Securities Corp. with respect to claims by
 Claimants affiliated with BlackRock, Inc.
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 9
  Skadden, Arps, Slate, Meagher & Flom LLP does not represent JPMorgan Chase & Co.,
 JPMorgan Chase Bank, N.A., and J.P. Morgan Securities LLC with respect to claims by
 BlackRock, Inc. or BlackRock-related entities listed in Appendix C of the Third
 Amended Complaint (ECF 481).
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  10
    Linklaters LLP does not represent Société Générale with respect to claims by BlackRock,
  Inc. or the BlackRock-related entities listed in Appendix C of the Complaint.
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  11
     Eversheds Sutherland (US) LLP only represents Standard Chartered Bank with respect
  to claims by AllianzGI GmbH, the Allianz Entities, PIMCO, and the PIMCO Funds, all as
  defined in the Complaint.
